
In my opinion, the Court of Civil Appeals should have affirmed the judgment of the trial court, as clearly required by this Court's decisions in State Farm Automobile Insurance Co. v. Baldwin, 470 So.2d 1230
(Ala. 1985), State Farm Mutual Automobile Insurance Co. v. Jeffers,686 So.2d 248 (Ala. 1996), and Hogan v. State Farm Mutual AutomobileInsurance Co., 730 So.2d 1157 (Ala. 1998). Therefore, I respectfully dissent.
As this Court stated in Hogan, "the Legislature, of course, has the prerogative to change the statute so as to avoid the interpretation adopted by this Court in Baldwin, Jeffers, and [Hogan]." 730 So.2d at 1159 n. 1. Because the Legislature has chosen not to amend the statute, I am not convinced that this Court's earlier interpretations of the statute were inconsistent with legislative intent. Therefore, I cannot agree that this Court should overrule Baldwin, Jeffers, or Hogan.
JOHNSTONE, J., concurs.